Case 9:19-ap-01019-DS   Doc 8 Filed 05/21/19 Entered 05/21/19 17:33:18   Desc
                         Main Document    Page 1 of 8
Case 9:19-ap-01019-DS   Doc 8 Filed 05/21/19 Entered 05/21/19 17:33:18   Desc
                         Main Document    Page 2 of 8
Case 9:19-ap-01019-DS   Doc 8 Filed 05/21/19 Entered 05/21/19 17:33:18   Desc
                         Main Document    Page 3 of 8
Case 9:19-ap-01019-DS   Doc 8 Filed 05/21/19 Entered 05/21/19 17:33:18   Desc
                         Main Document    Page 4 of 8
Case 9:19-ap-01019-DS   Doc 8 Filed 05/21/19 Entered 05/21/19 17:33:18   Desc
                         Main Document    Page 5 of 8
Case 9:19-ap-01019-DS   Doc 8 Filed 05/21/19 Entered 05/21/19 17:33:18   Desc
                         Main Document    Page 6 of 8
Case 9:19-ap-01019-DS   Doc 8 Filed 05/21/19 Entered 05/21/19 17:33:18   Desc
                         Main Document    Page 7 of 8
Case 9:19-ap-01019-DS   Doc 8 Filed 05/21/19 Entered 05/21/19 17:33:18   Desc
                         Main Document    Page 8 of 8
